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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
                                        450 Golden Gate Avenue
                                        San Francisco, CA 94102
                                        ___________________
                                          www.cand.uscourts.gov

Susan Y. Soong                                                               GENERAL COURT NUMBER
   CLERK OF COURT                                                                        415-522-2000

                                          November 18, 2019


Travis LeBlanc
Cooley LLP
1299 Pennsylvania Ave NW
Suite 700
Washington, DC 20004

Re:    WhatsApp Inc., et al. v. NSO Group Technologies Limited
Case Number: 19-cv-07123-JSC


Dear Counsel/Parties:
       This matter has been randomly assigned to United States Magistrate Judge Jacqueline Scott
Corley for all purposes including trial.


        The magistrate judges of this district have been designated to conduct any and all proceedings
in a civil case including a jury or nonjury trial and to order the entry of a final judgment, upon the
consent of all parties.


        A review of our records discloses that the Consent to Proceed Before a United States
Magistrate Judge or Declination to Proceed before a Magistrate Judge and Request for Reassignment
to a United States District Judge has not been filed in this case. All parties are requested to complete
the attached form documenting either consent or request for reassignment and e-file it with the Court
by December 2, 2019. This form can be found on the Court’s website at www.cand.uscourts.gov.


                                              Susan Y. Soong
                                              Clerk, United States District Court
                                              ________________________
                                                 Ada Means, Deputy Clerk to the
                                                 Honorable JACQUELINE SCOTT CORLEY
                                           Case 4:19-cv-07123-PJH Document 11 Filed 11/18/19 Page 2 of 2




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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                                 NORTHERN DISTRICT OF CALIFORNIA

                                   5
                                        WHATSAPP INC., et al.,
                                   6                                                        Case No. 19-cv-07123-JSC
                                                       Plaintiffs,
                                   7
                                                v.                                          CONSENT OR DECLINATION
                                   8                                                        TO MAGISTRATE JUDGE
                                        NSO GROUP TECHNOLOGIES LIMITED,                     JURISDICTION
                                   9    et al.,
                                  10                   Defendants.

                                  11          INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you

                                  12   (if you are the party) or the party you represent (if you are an attorney in the case) choose(s) to
Northern District of California
 United States District Court




                                       consent or decline magistrate judge jurisdiction in this matter. Sign this form below your selection.
                                  13

                                  14          ( )      Consent to Magistrate Judge Jurisdiction
                                  15
                                                       In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to
                                  16   have a United States magistrate judge conduct all further proceedings in this case, including trial
                                       and entry of final judgment. I understand that appeal from the judgment shall be taken directly to
                                  17   the United States Court of Appeals for the Ninth Circuit.
                                  18                  OR
                                  19
                                              ( )     Decline Magistrate Judge Jurisdiction
                                  20
                                                      In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United
                                  21   States magistrate judge conduct all further proceedings in this case and I hereby request that this
                                       case be reassigned to a United States district judge.
                                  22

                                  23   DATE: ________________                                 NAME:
                                  24                                                   COUNSEL FOR
                                                                                       (OR “PRO SE”):
                                  25

                                  26
                                                                                                                       Signature
                                  27

                                  28
